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                              Nos. 22-1118 & 22-1168

             In the United States Court of Appeals for the Tenth Circuit
                                _________________
                            RACHEL BRAYMAN, et al.,

                                                Plaintiffs-Appellees,

                                         v.
                 KEYPOINT GOVERNMENT SOLUTIONS, INC.,

                                           Defendant-Appellant.
                               __________________
                  On Appeal from the United States District Court
                          For the District of Colorado
                       The Honorable William J. Martinez
                       D.C. No. 18-cv-00550-WJM-NRN
                              __________________
                 DEFENDANT-APPELLANT’S REPLY BRIEF
                         __________________
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                      ORAL ARGUMENT IS REQUESTED
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                                   GLOSSARY

       1. Arbitration Plaintiffs – California plaintiffs who signed Arbitration

          Agreements subject to KeyPoint’s motion to compel arbitration at issue in

          Case No. 22-1118.

       2. Arbitrator Decides Clause – shorthand for the Arbitration Agreement’s

          clause that “the Arbitrator, and not any federal, state, or local court or

          agency, shall have the exclusive authority to resolve any dispute relating

          to the interpretation, applicability, enforceability, or formation of this

          Agreement.” E.g., App. Vol. II at 325 § 1.

       3. California Named Plaintiffs – Adriana Ponce and Dana McCarthy, who

           are named Plaintiffs who worked in California, opted into the FLSA




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          collective and moved for Rule 23 certification of the California state-law

           claims.

       4. California Plaintiffs – 64 plaintiffs who opted into the FLSA collective

           who worked in California.

       5. FAA – Federal Arbitration Act

       6. FI – Field Investigator

       7. FLSA – Fair Labor Standards Act

       8. FM – Field Manager

       9. OTC – Off-the-clock

       10. Pending Litigation Exception – shorthand for the Arbitration

           Agreement’s clause that “this Agreement does not apply to any currently

           pending litigation between Employee and [KeyPoint] as of the date this

           Agreement is signed by Employee, and this agreement does not apply to

           any class, collective, or other representative action proceeding that is

           currently pending as to which you are a current or purported class member

           as of the day this Agreement is signed by Employee.” E.g., App. Vol. II at

           325 § 2.




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                                    INTRODUCTION
        The district court here should have rejected class certification, having no

  evidence of a companywide or California-wide unlawful policy. Faced with that

  undeniable and inconvenient (for them) fact, Plaintiffs attempt – in direct

  contravention of the standard announced in Dukes – to dress up unsanctioned and at

  best anecdotal allegations of unilateral employee behavior contrary to company

  policy “as policy” disapproved in Dukes. They fail. Perhaps recognizing that failure,

  Plaintiffs pivot, protesting that Dukes does not fully apply to wage and hour claims

  – again, contrary to a host of legal authorities and in apparent reliance on authorities

  that are largely inapplicable to the facts here, or that were subsequently reversed.

        Critically, Plaintiffs fail to connect KeyPoint’s lawful policies to the alleged

  violations of California law. Plaintiffs’ defense of certification of the meal and rest-

  break classes offers only that the claims are “part and parcel” with the overtime

  claims, an argument by label that fails not only as an exercise in logic, but

  substantively as well: Plaintiffs offer no common evidence of KeyPoint’s alleged

  knowledge of meal and rest break violations. Perhaps sensing the thin ice on which

  they skate, Plaintiffs bury in a footnote a citation to a recent California district-court

  case that not only denied class certification of a nearly identical class, but also – and

  tellingly – noted that the precedent upon which the district court here decided the




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  issue is not the correct law. Ultimately, Plaintiffs fail to justify the district court’s

  order granting Rule 23 class certification, and it must be reversed.

        The same is true for the order denying KeyPoint’s motion to compel

  arbitration. Plaintiffs offer no argument or authority to overcome or distinguish the

  binding Supreme Court precedent that controls here.

                                      ARGUMENT
  I.    The Central District of California recently provided an example of how
  these claims should be analyzed.

        Plaintiffs rightly note, at footnote 4, that KeyPoint would cite to the recent

  decision in Pittmon v. CACI International Inc., ECF No. 91, No. 2:21-cv-02044-

  CJC-JEM (C.D. Cal. Aug. 11, 2022), Attach. 2. Plaintiffs know this because (a) like

  KeyPoint, CACI employs work-from-home background investigators who set their

  own schedules, (b) plaintiff Pittmon’s counsel is from the same law firm as

  Plaintiffs’ counsel in this case, and made the same class-certification arguments

  there, and (c) the Pittmon court deemed the district court’s certification decision in

  this case “of little value,” noted that this court’s prior Shook decision is obsolete, and

  denied class certification under California law for off-the-clock and meal and rest-

  break claims. See Shook v. El Paso Cty., 386 F.3d 963 (10th Cir. 2004).

        Indeed, the Pittmon court followed an analytic framework that the district

  court ought to have adopted here. With respect to off-the-clock claims, the court

  held, “CACI cannot be reasonably held to have constructive knowledge of the time


                                              4
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  worked off the clock if investigators were intentionally hiding their off-the-clock

  work for personal reasons.” Pittmon, ECF No. 91 at 13-14. As the Plaintiffs did,

  the Pittmon plaintiffs argued that individualized inquiries are a “damages issue.” The

  Pittmon court correctly responded: “[T]hese inquiries speak directly to CACI’s

  liability. Whether CACI’s production metrics actually exerted pressure on

  background investigator to work off-the-clock… in violation of CACI’s written

  policies; whether supervisors exerted pressure on background investigators to not

  record their overtime directly; and whether CACI knew or should have known of

  off-the-clock work, all are questions that speak to whether CACI has violated

  California’s wage and hour laws in the first place…” Id. at 14.

        The Pittmon court denied certification of a meal and rest break claim because

  “Plaintiffs fail[ed] to present evidence of a consistent, coherent policy, whether

  written or not, that CACI fails to relieve its investigators of all work so that they may

  take their required meal and rest break claims…” Id. at 17. Though the plaintiffs,

  as here, pointed to production expectations as the reason investigators skipped meal

  and rest breaks, the court noted that it “sees no reasonable method for determining

  the validity of this claim without asking each investigator and each supervisor what




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  their experience was in taking meal and rest breaks and/or providing meal and rest

  breaks to investigators.” Id. (emphases added). 1

  II.   Plaintiffs misrepresent the district court’s opinion.
        As Plaintiffs spin it, the district court here “fully considered the parties’

  arguments and evidence, ‘as well as the case law cited by each side,’ including the

  seminal Brinker Rest. Corp. v. Sup. Ct., 53 Cal. 4th 1004 (2012) decision that

  outlines the elements of a California state law meal break claim.” Resp. 32. But

  Plaintiffs’ tale unravels upon inspection. First, the district court cited Brinker once

  as a “see also” string citation (alongside an Eastern District of New York case) for

  the generic proposition that uniform policies consistently applied can be grist for

  class treatment. App. Vol. XXX at 7893. The district court did not use the words

  “meal,” “rest,” or “break” in the same paragraph or at any point in the order

  following the citation to Brinker. The district court did not “fully consider” or apply

  Brinker—or any other California state-court case—to the off-the-clock or break

  claims. Moreover, Brinker does not set out the law on which Plaintiffs base their


  1
   The Pittmon order also contains a detailed discussion of the evidence and legal
  authorities, citing to the California Labor Code and Wage Order provisions and
  elements of the claims, and noting that, under Brinker, employers “are not obligated
  to police meal breaks and ensure no work thereafter is performed.” Consequently,
  the Pittmon court found the decision below in this [Brayman] action to be “of
  little value,” (Pittmon, ECF No. 91 at 20 fn.4) because it assumed the truth of the
  pleadings (citing to Shook) rather than conducting a rigorous analysis as required—
  the very basis of this appeal.

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  claims; they are asserted under the California Labor Code and “Wage Order”

  regulations. The Brinker Court, unlike the district court here, interpreted those

  California laws.2 The district court here never even cited the California Labor Code

  upon which all of Plaintiffs’ California claims are based, nor did it analyze the

  elements of a claim under the code. Thus, Plaintiffs’ assertion that “the district court

  properly considered the merits of the California claims” (Resp. 31) cannot be true.

        In an exercise in transparent misdirection, Plaintiffs refer frequently to the

  district court’s holdings regarding a different motion—KeyPoint’s motion to

  decertify the FLSA action. But this appeal concerns the Rule 23 certification of

  California Labor Code claims. Plaintiffs urge, “while the Rule 23 and FLSA

  certification standards differ, each party’s legal theories and supporting evidence for

  certification and liability are substantially similar.” Resp. 24. This is arrant nonsense.

  There are (and can be) no meal and rest-break claims under the FLSA; the Rule 23

  requirements are different and the FLSA analysis is inapt because the FLSA

  2
    Plaintiffs’ assertion that KeyPoint “misstates California’s actual meal and rest
  break requirements” is false. Resp. 37. KeyPoint quoted and analyzed the actual
  statute and regulations and Brinker. Plaintiffs ignore the statute and cite only to
  Brinker’s interpretation of the term “provide” instead. Even as characterized by
  Plaintiffs, KeyPoint complied with the meal break obligation because it “relieved its
  employees of all duty” by authorizing them to arrange their own schedules to take
  breaks and requiring them to report in their timecards when they could not do so.
  Plaintiffs argue that “KeyPoint never truly relieved its investigators of all duty,”
  absurdly suggesting that they were “on duty” when shopping, going to the dentist,
  taking children to school or soccer practice, and cooking dinner. App. Vol. XXIV at
  6222-23 (63:23-64:20), 6240-41 (131:23-132:19).

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  standards for certification are more lenient than for Rule 23 claims. Campbell v. City

  of L.A., 903 F.3d 1090, 1111-15 (9th Cir. 2018) (citing Thiessen v. GE Capital Corp.,

  267 F.3d 1095, 1105 (10th Cir. 2001)) (“the FLSA …imposes a lower bar than Rule

  23”). Plaintiffs’ attempt to essentially equate the district court’s rationale for FLSA

  certification to the Rule 23 motion actually highlights that the district court did not

  perform the necessary “rigorous analysis” under Dukes, as a “rigorous analysis” is

  required for Rule 23 but not for FLSA actions. Campbell, 903 F.3d at 1115.3

  III. Plaintiffs cannot show a link between performance standards and meal
  and rest-break scheduling.
        Plaintiffs’ Response fails to suggest any connection between performance

  standards and alleged missed breaks; it does not even suggest that KeyPoint

  implemented punitive measures or gave instructions that interfered with breaks.

  Employees working remotely, and in charge of their own schedules, could take

  lawful breaks and arrange their schedules around those breaks regardless of how

  much work they were assigned or the applicable performance benchmarks.




  3
   Additionally, Plaintiffs suggest that Shook can be synthesized with Dukes (Resp.
  pp. 26-27). Not on the record in this case. The district court below clearly erred by
  citing the Shook decision to justify its departure from the requirements of Dukes.
  The court below failed to conduct a “rigorous analysis” as required for Rule 23
  certification; Plaintiffs cannot unring that bell with an inapt rationalization.




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  Plaintiffs’ own evidence shows that KeyPoint’s policies authorized and KeyPoint

  affirmatively encouraged breaks.

        Even if, as they allege, Plaintiffs failed to take breaks due to their workload,

  that does not mean they could not have arranged their schedules differently so as to

  take breaks, and they do not allege that they could not. On the contrary, class

  members testified that they could and did arrange their schedules to take breaks.

  App. Vol. XXIV at 6222-23 (63:23-64:20), 6240-41 (131:23-132:19). Plaintiffs

  merely pleaded that performance expectations caused them to miss breaks; they

  objectively failed to demonstrate with evidence any causal relationship between the

  performance standards and meal or rest-break practices.4

        Neither Plaintiffs nor the district court ever acknowledged this patent gap in

  evidence, and even now Plaintiffs have failed to address it. 5 The size of this gap can

  hardly be overstated. The evidence that Plaintiffs have put forth, and that they

  contend they will ultimately put forth at trial - which is not common proof, merely



  4
    Plaintiffs’ theory that KeyPoint encouraged under-reporting of meal and rest-break
  violations not only lacks any evidentiary support, it begs the question: if KeyPoint
  legally provided meal and rest breaks by making them available, there is nothing to
  report, so an incentive to “under-report” cannot prove violations. Further, there is no
  evidence that any class members were punished or discouraged from reporting being
  prevented from taking breaks.
  5
   Plaintiffs offer a fig leaf: “The meal and rest break claims, too, are part and parcel
  of the common pressures that created the unwritten policy to work off the clock.”
  Resp. 37. This incantation does not hold up to minimal scrutiny.

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  “representative” anecdotal evidence - cannot establish any meal or rest-period

  violations on a class basis.

        The Northern District of California pointed out the inadequacy of this

  argument where plaintiffs sought to establish a “policy” through survey evidence:

  “[r]ather than merely filling in ‘evidentiary gaps’ in a situation where all of the

  employees were similarly affected by a uniform policy, Plaintiffs here are

  attempting to paper over significant material variations.” Senne v. Kan. City Royals

  Baseball Corp., 315 F.R.D. 523, 583 (N.D. Cal. 2016) (emphasis added). Plaintiffs’

  attempt to “paper over” their inherently individual choices with less proof fails and

  class certification was inappropriate.

  IV.   Dukes applies to wage-and-hour class claims.
  A.    Numerous courts have applied Dukes to wage claims.

        Plaintiffs assert that Dukes has “limited” applicability to wage and hour cases.

  Not so. Dukes holds that “[w]hat matters to class certification … is not the raising

  of common ‘questions’—even in droves—but, rather, the capacity of a classwide

  proceeding to generate common answers apt to drive the resolution of the litigation.

  Dissimilarities within the proposed class are what have the potential to impede the

  generation of common answers.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350

  (2011). In that putative Rule 23 discrimination case, the Dukes court concluded,

  “[w]ithout some glue holding the alleged reasons for all those decisions together, it



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  will be impossible to say that examination of all the class members’ claims for relief

  will produce a common answer to the crucial question why was I disfavored.” Id. at

  352 (emphasis in original). Plaintiffs assert that “KeyPoint cannot shoehorn in

  Dukes’ focus on the question of ‘why’ to either Plaintiffs’ overtime or meal and rest

  break claims.” Resp. 45-47.

        If KeyPoint is guilty of “shoehorning” the question of why class members

  missed meal and rest breaks into the Dukes framework, it is in good company. See

  Davidson v. O’Reilly Auto Enters., LLC, 968 F.3d 955, 967 (9th Cir. 2020) (affirming

  denial of certification of rest-break claim under Dukes); Alcantar v. Hobart Serv.,

  800 F.3d 1047, 1053-54 (9th Cir. 2015) (noting reasons for missing meal and rest

  breaks predominated over common questions).6 Further, Plaintiffs are improperly

  “shoehorning” by making blanket statements about “overtime or meal and rest break



  6
    See also Dilts v. Penske Logistics, LLC, 315 F.R.D. 591, 594 (S.D. Cal. 2016)
  (decertifying meal break claim because “the question of why an employee did not
  timely take a meal break is not subject to a common answer”); Cole v. CRST, Inc.,
  317 F.R.D. 141, 146 (C.D. Cal. 2016) (decertifying meal and rest-period classes
  under Dukes); Howard v. CVS Caremark Corp., No. CV 13-04748 SJO 2014 U.S.
  Dist. LEXIS 172406 (C.D. Cal. Dec. 19, 2014), aff’d, 628 F. App'x 537 (9th Cir.
  2016); Gonzalez v. Millard Mall Servs., 281 F.R.D. 455, 462 (S.D. Cal. 2012)
  (applying Dukes in rejecting meal and rest break claims); York v. Starbucks Corp.,
  No. CV 08-07919 GAF (PJWx), 2012 U.S. Dist. LEXIS 190086, at *17-19 (C.D.
  Cal. Sep. 12, 2012) (Plaintiff’s claim that he need only present evidence of common
  policies without knowing why breaks were missed was inconsistent with Dukes and
  Brinker); In re Bank of Am. Wage & Hour Emp’t Litig., 286 F.R.D. 572, 589 (D.
  Kan. 2012) (“The evidence reflects a myriad of reasons why an employee might
  have performed off-the-clock work”).

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  claims.” Resp. 46. Off-the-clock overtime and break claims are not identical because

  where overtime is worked with the employer’s knowledge, the work must be paid

  regardless of the reason. However, meal and rest breaks can be lawfully missed even

  with employer knowledge so long as the reason is not that the employer coerced

  the missed break. White v. Starbucks Corp., 497 F. Supp. 2d 1080, 1089 (N.D. Cal.

  2007) (“the employee must show that he was forced to forego his meal breaks as

  opposed to merely showing that he did not take them regardless of the reason”);

  Carrasco v. C.H. Robinson Worldwide, Inc., No. 1:13-cv-01438-LJO-SAB, 2013

  U.S. Dist. LEXIS 169515, at *26 (E.D. Cal. Nov. 27, 2013) (“Liability for failure to

  provide meal breaks and rest breaks is premised on the employer’s actions, and not

  necessarily the employee’s actions”); Adams v Michaels Stores, Inc., No. CV09-

  1939-GW(AGRx), 2013 U.S. Dist. Lexis 202734, at *15-16 (C.D.Cal. Mar.4, 2013)

  (evidence did not “appear in the slightest to constitute an effort to ‘undermine’ [the]

  meal and rest break policy”). Meal and rest-break premiums are not compensation

  for time worked, but rather, for the inability to take breaks. That is why the question

  of why employees missed breaks is essential. Plaintiffs fail to acknowledge the

  distinction.

        In sum, Dukes prohibits certification of questions that cannot produce

  common answers, and certification of meal and rest-break claims in the scenario

  presented here—where employees managed their own schedules outside the view of


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  their employer—is fundamentally at odds with Dukes because the questions cannot

  be answered in common. This is borne out by evidence showing that employees took

  breaks at various times for various purposes based on their own schedules, and they

  could not produce a uniform reason for missing breaks. This is unlike the cases

  Plaintiffs cite where a hospital understaffed nurses, but required at least two nurses

  to remain present, preventing meal breaks (Alberts), or where an employer required

  delivery drivers to follow strict pre-drawn delivery schedules and automatically

  deducted pay regardless whether they were taken (Dilts).7 Unlike those cases,

  putative class members here did not uniformly state they missed breaks because of

  a common policy or practice that objectively interfered with the ability to take a meal

  or rest break, such as discipline for taking breaks, imposed scheduling structures, or

  supervisors’ uniform instructions to skip breaks.

  B.    Dukes requires more than ipse dixit.
        The district court said it reviewed all the evidence and reviewed the legal

  elements. But if a district court need only say that it reviewed all the evidence to



  7
   Plaintiffs’ citation to Boyd v. Bank of America Corp., 300 F.R.D. 431 (C.D. Cal.
  2014) is misplaced because that employer, unlike KeyPoint, did not dispute that class
  members “regularly work overtime without receiving premium pay or meal and rest
  periods.” Id. at 437; see Le v. Walgreen Co., No. CV 18-1548-DOC (ADS), 2020
  U.S. Dist. LEXIS 121118, at *22 (C.D. Cal. Apr. 27, 2020) (distinguishing Boyd
  because “absent such a mandatory practice pressuring employees to forego breaks,
  an analysis of whether an employer is undermining its formal policy would
  necessitate an individualized inquiry”).

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  meet the “rigorous analysis” requirement, such “magic” language would protect

  every class certification decision from the strictures of Dukes. That is an unserious

  proposition.

        The Supreme Court in Dukes clearly intended that district courts actually

  demonstrate a rigorous analysis, not simply declare it. In the Tenth Circuit, district

  courts “must characterize the issues in the case as common or not, and then weigh

  which issues predominate.” CGC Holding Co., LLC. v. Broad & Cassel, 773 F.3d

  1076, 1087 (10th Cir. 2014) (emphasis in original).

        A rigorous analysis “characterizing” and “weighing”8 the issues surely entails

  identifying the evidence and law framing the issues, for without evidence or legal

  support, there is no issue at all. See McCaster v. Darden Rests., Inc., 845 F.3d 794,

  801 (7th Cir. 2017) (affirming denial of class certification where plaintiff identified

  a “common question” that was not at issue, as “resolving the proposed class

  members’ claims doesn’t center on any question common to the class, but instead

  turns entirely on facts specific to each individual class member’s claim”); see also

  Dukes, 564 U.S. at 349 (the commonality rule “is easy to misread, since any

  competently crafted class complaint literally raises common ‘questions.’”). Here, the

  district court plainly—and expressly—adopted the “competently crafted class



  8
   KeyPoint does not contend that each element must be in common. Rather, each
  must be identified and weighed to determine predominance.

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  complaint” and failed to analyze the elements and evidence, particularly with respect

  to the meal and rest-break claims. Contra Dukes, 564 U.S. at 349. Had it done so, it

  would have seen that class members’ meal and rest-break claims must be analyzed

  on an individual basis. Here, the “why” questions for missed breaks cannot be

  answered in common. 9

        Thus, the district court’s opinion does not demonstrate sufficient analysis of

  California law to evaluate—based on the evidence, not the pleadings—whether class

  treatment was legally appropriate.

  C.    A non-existent “fact” is not a “common fact.”

        Another of the stratagems Plaintiffs employ is that commonality under Dukes

  can be created ex nihilo through sleight-of-hand. Plaintiffs fail to identify any

  unlawful written policy, and, to be clear, KeyPoint’s policies are consistent with

  California law. Because they cannot, at no point do Plaintiffs cite to a KeyPoint

  policy, memorandum, or instruction regarding timekeeping or breaks as violative of

  California law, demonstrating that there cannot be a common issue. McCaster, 845

  F.3d at 801 (“the common question they proposed for resolution is really no question


  9
    Similarly, KeyPoint’s alleged knowledge of off-the-clock work cannot be resolved
  in common. Brinker, 53 Cal. 4th at 1052 (“where no substantial evidence points to
  a uniform, companywide policy, proof of off-the-clock liability would have had to
  continue in an employee-by-employee fashion, demonstrating who worked off-the-
  clock, how long they worked, and whether Brinker knew or should have known of
  their work.”).

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  at all”). Instead, in a breathtaking example of a causal fallacy, Plaintiffs claim that

  the absence of such an unlawful policy is itself a source of common proof.10 This is

  absurd. Plaintiffs cannot point to the lack of an unlawful policy to manufacture a

  common issue, because a lawful policy does not create an issue at all. See id. And

  here, Plaintiffs have posited no unlawful meal and rest-break policy.11

           At best, Plaintiffs have posited a practice, or a purported “de facto policy,”

  but failed to provide evidence of one. See Dukes, 564 U.S. at 355 (“The only

  corporate policy that the plaintiffs’ evidence convincingly establishes is Wal-Mart’s

  ‘policy’ of allowing discretion by local supervisors over employment matters. . . [O]f

  course, that is just the opposite of a uniform employment practice that would provide

  the commonality needed for a class action…”).

           Similar to Dukes, KeyPoint’s policy establishes that Plaintiffs had discretion

  to schedule their own meal and rest breaks. Plaintiffs have provided no evidence that

  there were any unofficial memoranda, presentations, or cross-California instructions

  to the effect that employees should work off the clock or not take breaks. Plaintiffs

  have not proffered (or suggested the existence of) any widespread instructions by

  supervisors to skip breaks or not report when they cannot take breaks, let alone that



  10
    If this were sufficient, every employee class claim should be certified, for they are
  always under the same employer policies.
  11
       The Pittmon court rejected the same ploy. Pittmon, ECF No. 91 at 17.

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  supervisors knew this was allegedly occurring. 12 For their meal and rest-period

  claims, Plaintiffs have pointed to one source of proof: 64 cookie-cutter interrogatory

  answers by 64 litigants who asserted (with help from counsel) that they missed

  breaks for unstated reasons connected to their workload.13 Those interrogatory

  answers, to the extent they were not recanted in depositions, do not state that

  employees were uniformly required to miss breaks and do not identify a single

  individual or circumstance—not even one—that interfered with their breaks. See

  Dukes, 564 U.S. at 358 (Even if every single one of [the anecdotal accounts offered

  by plaintiffs] is true, that would not demonstrate that the entire company ‘operate[s]

  under a general policy of discrimination,’ [citation] which is what respondents must

  show to certify a companywide class.”).

        Plaintiffs’ evidence for the meal and rest-break claims is simply this and only

  this: a collection of employees violated KeyPoint’s policy either by failing to arrange

  their schedules to take breaks, or not reporting when they were unable to do so.14


  12
     Supervisors’ knowledge of skipped breaks is not relevant unless the supervisors
  kept employees from taking breaks. That does not mean mere interruption. If a break
  was interrupted, a class member could immediately start the break over, given the
  class members’ schedule flexibility. Plaintiffs would have to prove the supervisor or
  other circumstance prevented the break altogether, not just interrupted it.
  13
    Notably, the Pittmon court deemed insufficient far more detailed employee
  declarations than the conclusory interrogatory answers presented here. (Pittmon ECF
  No. 69-11., Attach. 2)
  14
    They do not state what consequences they believe they would have suffered for
  reporting missed breaks.

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  Plaintiffs characterize this evidence as an “unwritten but common policy.” Resp. 35.

  But when a subset of self-interested employee-litigants uniformly say they violated

  company policy, the company “policy” never magically changed; they simply

  violated company policy. 15 Brinker, 53 Cal. 4th at 1040-41 (“the relinquishing of

  control satisfies the employer’s obligations, and work by a relieved employee during

  a meal break does not thereby place the employer in violation of its obligations”).

  To be a company policy, it must come from the company, not subordinate

  employees. Dukes, 564 U.S. at 359 (requiring “companywide” policy). Plaintiffs

  submit no such evidence.

        Accordingly, Plaintiffs err when they state, “an answer of ‘no’ in response to

  whether KeyPoint has an unlawful policy . . . would certainly drive resolution of the

  litigation.” Resp. 31. It would not. There is no unlawful policy alleged. KeyPoint

  acknowledges that if, arguendo, a rogue supervisor instructed a class member to skip

  meal periods, there could be liability on an individual basis. The lack of an unlawful



  15
    Plaintiffs cite Moore v. International Cosmetics & Perfumes, Inc., No. ED CV 14–
  1179 DMG, 2016 WL 7644849 (C.D. Cal. Mar. 17, 2016), where the district court
  found an unwritten unlawful policy, where the company’s Rule 30(b)(6) witness
  apparently did not know the company had a meal-break policy (though the company
  amended his deposition testimony), other supervisors also stated that they were
  unaware of the policy, and it was never provided to all employees. There also was
  evidence of supervisors being instructed to discourage employees from taking
  breaks. Those are not the facts here. KeyPoint had a well-distributed lawful meal
  and rest-break policy, and there is no evidence of companywide behavior to
  undermine that policy.

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  policy does not mean there can be no liability—it just means the liability must be

  determined on an individual basis. Had this been a case where the policy could be

  unlawful—such as where employees are required to stay on the employer’s premises

  for a meal period, for example—class certification could make sense. In the absence

  of such a policy, class certification is inappropriate. See Ellis v. Costco Wholesale

  Corp., 657 F.3d 970, 983 (9th Cir. 2011) (no common question without evidence that

  the entire class was subject to the same unlawful practice); Washington v. Joe’s Crab

  Shack, 271 F.R.D. 629, 641 (N.D. Cal. 2010) (individualized inquiry was necessary

  to determine meal break liability because no common policy).

  V.    Plaintiffs’ proposed use of representative proof violates KeyPoint’s rights.
  A.    “Representative” proof must be statistically representative.

        In response to KeyPoint’s observation that Plaintiffs submitted no expert

  evidence substantiating that the California Plaintiffs were an appropriate (i.e.,

  random) sample, Plaintiffs responded that they would simply establish an unlawful

  policy before a jury through “representative testimony.” Resp. 42-45. But that would

  fail the due-process standards guaranteed by California law:

        A sample must be randomly selected for its results to be fairly
        extrapolated to the entire class… A ‘random sample’ is one in which
        each member of the population has an equal probability of being
        selected for inclusion in the sample.”… The potential for bias arises
        because those who do not respond have no probability of inclusion in
        the sample… Selection bias occurs when members of the population
        are chosen based on a nonrandom criterion or are selectively included
        or excluded from the sample group. In litigation, selection bias can


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        occur when members of the population are allowed to opt out of the
        class.

  Duran v. U.S. Bank N.A., 59 Cal. 4th 1, 43 (2014) (citations omitted).

        The Duran standard has been applied to class certification under Rule 23 for

  “representative testimony and random sampling.” Santos v. UPS, No. 18-cv-03177-

  EMC, 2020 U.S. Dist. LEXIS 216176, at *9, 14 (N.D. Cal. Nov. 18, 2020) (without

  “statistical or other systemic evidence that Defendant engaged in a companywide

  policy of falsifying meal breaks,” class certification was impermissible under

  Duran.).

        Plaintiffs cite to Dilts v. Penske Logistics, LLC, 267 F.R.D. 625, 639 (S.D.

  Cal. 2010), asserting that it “reject[ed] the defendant’s argument that use of

  representative testimony is violative of the defendant’s due process rights.”

  However, the district court would later note, in decertifying the meal period class,

  that Plaintiff’s proposed random, representative testimony from 40 class members

  could result in a finding of liability to the class even in the presence of evidence that

  some class members were not denied breaks. Dilts, 315 F.R.D. at 594 n.1. 16

        The Dilts court went on to hold “[t]he Plaintiffs have not demonstrated a

  common policy that prohibited all class members from taking a timely first meal



  16
     Accordingly, Plaintiffs’ assertion that “what a jury may or may not ultimately find
  is irrelevant to class certification” fails. Resp. 38. What a jury should be allowed to
  ultimately find absolutely should impact class certification.

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  break…” and concluded, “the evidence regarding whether employees were provided

  with the opportunity to take a timely first meal break is not subject to class-wide

  resolution and more individualized questions predominate.” Id. at 595.17

        Plaintiffs have yet to suggest any scientifically valid method for evaluating

  these claims on a class basis.

  B.    Plaintiffs’ proposed “representative” proof fails.

        Despite the absence of statistical validation, Plaintiffs allege “there is no

  reason that these issues could not be proven or defended based on representative

  proof.” (Resp. pp. 42-43.) Plaintiff cites to Garcia v. Tyson Foods, Inc., 770 F.3d

  1300 (10th Cir. 2014), Jimenez v. Allstate Ins. Co., 765 F.3d 1161 (9th Cir. 2014),

  and Monroe v. FTS USA, LLC, 860 F.3d 389 (6th Cir. 2017). These cases undermine,

  rather than support, the district court’s certification order.

        In Garcia, this circuit affirmed a class jury verdict because “the jury could

  reasonably rely on representative evidence to determine class-wide liability because

  Tyson failed to record the time actually spent by its employees on pre- and post-shift

  activities.” Garcia, 770 F.3d at 1307. Here, employees affirmatively recorded and




  17
     The earlier Dilts decision cited by Plaintiffs stated only that “the use of
  representative testimony is not per se violative of Defendant’s due process rights”
  Dilts, 267 F.R.D. at 639 (emphasis added), which does not suggest that Plaintiffs’
  proposed representative testimony would respect KeyPoint’s due process rights.

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  certified their work hours and breaks.18 Moreover, these are California claims, not

  FLSA claims, and California claims are subject to Duran’s strictures.

        Second, the Ninth Circuit in Jimenez affirmed a class certification order where

  the district court denied certification of meal and rest-break claims because the

  plaintiff failed to identify a common unlawful policy “other than [plaintiff’s] generic

  allegations that [employees] were overworked and did not have time for such

  breaks.” Jimenez v. Allstate Ins. Co., No. LA CV10-08486 JAK (FFMx), 2012 U.S.

  Dist. LEXIS 65328, at *47 (C.D. Cal. Apr. 18, 2012). Moreover, the district court

  had “struck some of the expert testimony offered by plaintiffs as insufficiently

  empirically supported” and ensured that accepted statistical analysis actually

  “conformed to the legal questions to which the analysis was being applied[.]”

  Jimenez, 765 F.3d at 1168-69 (emphasis added).

        Under Jimenez, then, representative proof should not be permitted here. The

  district court below did not accept empirically supported statistical analysis but

  instead certified a class of meal and rest-break claims based on “generic allegations

  that [class members] were overworked and did not have time for such breaks.” In



  18
    Plaintiffs’ argument that “the Kamar decision does not foreclose certification of
  meal and rest-break claims where no business records showing actual break times
  exist,” Resp. 33, is misplaced as well, as KeyPoint obtained certifications of breaks,
  and there is no competent evidence (as opposed to assertions in pleadings) that those
  records are generally inaccurate. See, e.g., App. Vol. XXIV at 6214-15 (35:13-36:4),
  6216 (40:4-10).

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  other words, it did exactly the opposite of what the Jimenez trial and appellate courts

  did. Finally, the Jimenez appellate decision affirmed Duran’s requirements and held

  they were met. Id. at 1168. The district court here failed to ensure the proof offered

  would be statistically representative, instead accepting the pleadings and Plaintiffs’

  biased selection.

        Plaintiffs also cite to the Sixth Circuit in Monroe, which affirmed FLSA, not

  Rule 23, certification and specifically held “we have refused to equate the FLSA

  certification standard for collective actions to the more stringent certification

  standard for class actions under Rule 23.” 860 F.3d at 405-06 (emphasis added).

  The Sixth Circuit Monroe decision does not aid Plaintiffs’ argument here at all,

  makes no mention of due process rights, and of course does not comply with Duran.

  The citation to Pierce v. Wyndham v. Vacation Resorts, Inc., 922 F.3d 741, 749 (6th

  Cir. 2019) fails for the same reason. Further, Balasanyan v. Nordstrom, Inc., 294

  F.R.D. 550 (S.D. Cal. 2013) underscores KeyPoint’s due process argument: “The

  purpose of Rule 23’s class certification requirements is to only certify class actions

  where the defendant will not be disadvantaged by the inability to address claims or

  assert defenses applicable against particular prospective class members.” Id. at 572

  (emphasis added). Here, KeyPoint has such defenses against “particular” class

  members, because it is an individualized factual inquiry whether each class member




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  was truly prevented from taking each allegedly missed break. Such testimony cannot

  be extrapolated across the class.

        Plaintiffs also contend that “whether some Plaintiffs were provided some

  breaks is really just a question of . . . damages,” placing the cart before the horse.

  Resp. 33. The court would determine “damages” after liability has been proven as

  to everyone. But the proposed proof of liability would be non-scientific

  “representative testimony” that does not take into account KeyPoint’s individual

  defenses to liability. Again, “Plaintiffs here are attempting to paper over significant

  material variations.” Senne, 315 F.R.D. at 583. As in Dilts, 315 F.R.D. at 594 n.1,

  Plaintiffs will attempt to prevail on a class-wide basis through “representative”

  testimony that, through extrapolation, could result in a finding of liability as to all

  class members despite evidence that those same class members were not in fact

  denied the opportunity to take breaks. See Daye v. Cmty. Fin. Serv. Ctrs., LLC, 313

  F.R.D. 147, 174 (D.N.M. 2016) (“A trial by statistics [impermissible under Dukes]

  involves a small but representative sample of class members presenting evidence on

  individual questions in their own cases and then inviting the jury to extrapolate its

  conclusions from the sample to the entire class.”). Plaintiffs’ proposal does not

  justify certifying a class in the absence of an unlawful policy.




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  VI. There are no grounds upon which to affirm the district court’s order
  denying KeyPoint’s motion to compel arbitration.

          Plaintiffs’ opposition to KeyPoint’s arguments on the arbitration portion of

  this appeal are unpersuasive. For all the reasons described in KeyPoint’s opening

  brief, the district court erred when it denied KeyPoint’s motion to compel and the

  decision should be reversed. Three points in Plaintiffs’ Response warrant mention

  here.

          First, although Plaintiffs acknowledge that the Court has jurisdiction over this

  portion of the appeal, Resp. 2-3, they nevertheless argue that KeyPoint waived its

  ability to appeal denial of its motion to compel arbitration as to the 31 Arbitration

  Plaintiffs because KeyPoint did not seek reconsideration of whether the California

  Plaintiffs must arbitrate their California claims. Id. at 48 n.8. This is a nonissue. As

  the Supreme Court explained, a timely motion for reconsideration “renders an

  otherwise final decision of a district court not final for purposes of appeal.”

  Nutraceutical Corp. v. Lambert, 139 S. Ct. 710, 717 (2019) (internal quotation marks

  omitted); see also Opening Br. 4 n.2. Plaintiffs would have the Court stray from the

  Supreme Court’s direction and declare that a portion of the district court’s order was

  final and appealable—thereby resulting in the purported waiver—even though other

  portions were nonfinal and not appealable. Not only would that have obvious

  detrimental effects on the efficient administration of appeals, it is contrary to

  precedent.


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        The case Plaintiffs offer is beside the point. In Comité Fiestas de la Calle San

  Sebastián, Inc. v. Soto, the notice of appeal referenced the district court’s denial of

  a Rule 59(e) motion for reconsideration, but the opening brief challenged only

  portions of the underlying order. 925 F.3d 528, 531 (1st Cir. 2019). The

  jurisdictional question was whether the court could reach the merits of the district

  court’s underlying summary-judgment order. Id. The court ruled that it could

  consider overlapping issues, but—as pertinent to the argument Plaintiffs make

  here—it would not consider a First Amendment retaliation claim that was not raised

  in the motion for reconsideration and therefore not part of the notice of appeal. Id.

  at 533. In other words, by appealing only the denied motion for reconsideration, the

  appellants in Comité Fiestas did not appeal the First Amendment retaliation claim.

  Here, by contrast, KeyPoint’s notice of appeal explicitly appealed both the

  underlying order denying its motion to compel [Dkt. 294], and the reconsideration

  in the Order on Pending Motions [Dkt. 365]. App. Vol. XXX at 7902. The motion

  for reconsideration rendered the underlying order nonfinal for the purposes of

  appeal, and it is properly before the Court now.

        Second, Plaintiffs fail in their attempt to manufacture ambiguity through the

  “notwithstanding” portion of the Pending Litigation Exception. Resp. 49-51. Faced

  with a delegation clause substantively identical to the clear and unmistakable clause

  in Rent-A-Center, West, Inc. v. Jackson, 561 U.S. 63 (2010), Plaintiffs argue that the


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  entire Pending Litigation Exception is carved out of the Arbitration Decides Clause

  because the exception includes a clause saying, “notwithstanding any other language

  in this Agreement . . . .” Plaintiffs’ interpretation is more than the words can bear.

  Quite simply, the delegation clause is clear and unmistakable and there is no rational

  reading of the Arbitration Agreement that carves out the Pending Litigation

  Exception.

        The Fifth Circuit’s decision after remand in Archer & White Sales, Inc. v.

  Henry Schein, Inc., 935 F.3d 274 (5th Cir. 2019) is distinguishable. There, the

  pertinent delegation to the arbitrator derived from the contract’s incorporation of the

  American Arbitration Association (AAA) rules. But the scope of arbitration itself

  did not include actions seeking injunctive relief, and therefore it was not clear and

  unmistakable that the parties intended to delegate arbitrability. Id. at 281-82. By

  contrast, the parties here clearly and unmistakably delegated questions of

  “applicability” to the arbitrator and the Pending Litigation Exception is a matter of

  applicability. E.g. App. Vol. II at 325 (“this Agreement shall not apply to . . .”).

  Moreover, the Arbitration Agreement demonstrates the parties did carve out a

  portion of the Arbitrator Decides Clause, but not the Pending Litigation Exception.

  Namely, the second sentence of the Arbitrator Decides Clause says it “shall not apply

  to the ‘Class Action Waiver’ described below.” Id. Had the parties intended to also




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  carve out the Pending Litigation Exception, they would have put it in the same place.

  But they didn’t, and Plaintiffs’ “notwithstanding” argument fails.

        Third, KeyPoint’s opening brief did not suggest that the district court relied

  on the “wholly groundless” exception as Plaintiffs characterize it. Compare Resp.

  51 with Opening Br. 44. On the contrary, KeyPoint was making the point that

  courts—all courts—must enforce clear and unmistakable delegations even if they

  believe them to be wholly groundless, frivolous, or a waste of time and money.

  Opening Br. 44.

        That is precisely the point in the end: as in Rent-A-Center, the Arbitrator

  Decides Clause here clearly and unmistakably delegates disputes about applicability

  to the arbitrator, the Pending Litigation Exception explicitly concerns whether or not

  the Arbitration Agreement applies, and therefore the delegation must be enforced.

                                    CONCLUSION
        The common thread of this consolidated appeal is that the district court

  disregarded binding precedent in deciding both Plaintiffs’ motion for Rule 23 class

  certification and KeyPoint’s motion to compel arbitration. Both decisions should be

  reversed.

        Wherefore, KeyPoint respectfully requests that this Court reverse the

  decisions of the district court and direct the district court to enter an order




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  (1) denying class certification under Rule 23, and (2) compelling the 31 Arbitration

  Plaintiffs to arbitrate their state-law claims.

        Dated: September 9, 2022.

                                           Respectfully submitted,

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  32(a)(7)(B) because it contains 6493 words, excluding the parts of the brief

  exempted by Fed. R. App. P. 32(f) and 10th Cir. R. 32(B).

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        Dated: September 9, 2022.

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        3.     The digital submission has been scanned for viruses with the most

  recent version of a commercial virus-scanning program (Windows Defender,

  Antivirus Version 1.371.442.0, last updated September 9, 2022) and, according to

  the program, is free of viruses.

        Dated: September 9, 2022.
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                            CERTIFICATE OF SERVICE
        I hereby certify that on this 9th day of September, 2022, I electronically filed

  the foregoing Defendant-Appellee’s Reply Brief using the court’s CM/ECF system,

  which will send notification of such filing to the following:

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